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                         UNITED STATES DISTRICT COURT
                        FOR THE District of New Jersey [LIVE]
                    U.S. District Court for the District of New Jersey

 DEERFIELD HOLDINGS, LLC, et al.
                                            Plaintiff,
 v.                                                        Case No.:
                                                           3:24−cv−01064−ZNQ−RLS
                                                           Judge Zahid N. Quraishi
 LAKEWOOD TOWNSHIP
 COMMITTEE, et al.
                                            Defendant.

 Dear John Paul Doyle:
     Please be advised, our records show that you are not a member of the Federal Bar of
 New Jersey. Therefore, you are responsible for having a member of the Bar of this Court
 file an appearance in accordance with Local Civil Rule 101.1 on behalf of your client.




                                                Very truly yours,
                                                CLERK OF COURT
                                                By Deputy Clerk, jdg
